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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
DOUGLAS J. HORN and CINDY HARP-HORN,                            Civil Action No. 15-cv-701-FPG

                                Plaintiffs,

         -against-
                                                                 Declaration of
MEDICAL MARIJUANA, INC., DIXIE                                   Jean-Claude Mazzola
HOLDINGS, LLC, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                                Defendants.


       1.       I, Jean-Claude Mazzola, am an attorney with the firm of Mazzola Lindstrom LLP,

counsel for Dixie Holdings, LLC, duly licensed to practice before this court, and state the

following under penalty of perjury, pursuant to 28 U.S.C. § 1746. Having reviewed the file

maintained for the defense of this action, I am fully familiar with the facts and circumstances set

forth herein.

       2.       I submit this declaration in opposition to plaintiff’s motion for an order pursuant

to FRCP 43 and 45 (i) directing that defendants’ officers Tripp Keber, Chuck Smith and

Michelle Sides appear for trial and testify before this court via contemporaneous video

transmission; (ii) granting plaintiff leave to serve trial subpoenas on Tripp Keber and Chuck

Smith by alternative means including substituted service, overnight courier, certified mail, email,

social media post or any other method directed by the court; and (iii) such other and further relief

as this court deems just and proper.

       3.       In that plaintiff has not yet personally served either Mr. Keber or Mr. Smith,

defendant Dixie reserves the right to move for an order to quash the plaintiff’s trial subpoenas of

Chuck Smith and Tripp Keber (ECF DKT. # 181-2 and 181-3) in the event personal service is

eventually effectuated.
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        4.     In the interest of judicial economy and expediency, and upon prior approval of the

court, we adopt and incorporate by reference the arguments made in behalf of defendants

Medical Marijuana Inc. and Red Dice Holdings LLC in opposition to plaintiff’s motion. (See

ECF DKT 183, et. seq.). Attached as Exhibit A are Dixie’s Rule 26 Initial Disclosures.

        5.     The rule followed by the majority of jurisdictions is that a Rule 45 subpoena does

in fact constitute discovery. See, e.g., Dodson v. CBS Broad. Inc., 2005 U.S. Dist. LEXIS 29703,

at *3 (S.D.N.Y. Nov. 29, 2005) (collecting cases). Although Dodson and the collected cases

therein predate the amendments to FRCP 43 and 45, to the extent that they weigh against the

plaintiff, they do so even more today under the more stringent current rules. See also Valerino v.

Holder 2014 U.S. Dist. Lexis 119724 at *4 (D.V.I., 2014) (declining to compel contemporaneous

transmission under FRCP 43 from locations outside the district where good cause in compelling

circumstances not shown, and noting that it is a stringent requirement.)

        6.     If FRCP 43 can be used to hale these witnesses to appear via video from wherever

they may be, then the requirement of a showing of “good cause in compelling circumstances”

can be satisfied with just the ask. If plaintiff’s motion is granted, the governing principle would

be that any excuse may be deemed “a good enough cause.” If granted, plaintiff’s entire case

(almost) will be by remote witnesses, undermining the traditions of live testimony in front of a

jury.

        7.     Plaintiff’s subpoenas are an attempted substitute for orderly discovery, which

plaintiff waived. The scope of the subpoenas is broad – indeed there is no limit, the prospective

witness merely being instructed to appear and testify. While under Dodson (and the collected

cases) subpoenas are acceptable for last-minute trial needs (such as to get an original of a

document brought to court where the party seeking it only has a photocopy), here the plaintiff
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would seek to use to witnesses’ testimony to probe whether they even have evidence to support

plaintiff’s case. This is an improper use of trial subpoenas.

       8.      Plaintiff has long known that Keber, Smith and Sides are located outside the

Western District of New York. Accordingly, plaintiff’s failure to schedule a deposition during

the discovery period cannot be excused. Plaintiff must not be permitted to employ a subpoena

after the discovery cutoff to obtain testimony that could have been obtained during discovery.

       9.      Furthermore, the court’s policy of requiring parties to submit a pretrial order

detailing deposition testimony that it intends to use in its direct case is rendered nugatory if a

trial subpoena may issue demanding testimony not previously obtained. (EFC DKT 174, ¶ F).

       10.     Plaintiff also seeks leave to serve the subpoenas by alternate means upon Keber

and Smith. Even were this court inclined to grant alternative service, it must only do so where

the serving party has been diligent yet unsuccessful at an earlier attempt to make personal

service. But plaintiff has failed to demonstrate any effort – much less the diligence required or

proof thereof – to attempt to serve these individuals. No affidavit of a process server was

submitted by the plaintiff. 1 Nor has the plaintiff provided any proof that he has “paid the travel

expenses” for all three witnesses” or that he was “rebuffed.” (ECF DKT 38-1, ¶ 31).




1
  We trust the court will reject any attempt to remedy the procedural deficiencies on reply.
Pointdujour v. Mount Sinai Hosp., 121 F. App’x 895, 896 n. 1 (2d Cir. 2005) (“As a rule, we will
not consider an argument raised for the first time in a reply brief, even by a pro se civil litigant.”);
United States v. Harrison, 48 F. Supp. 3d 381, 385 n.1 (N.D.N.Y. 2014) (“[A]rguments raised for
the first time in a reply brief are not usually considered, even when made by a pro se litigant.”).
When parties engage in motion practice, “reply papers may properly address new material issues
raised in the opposition papers so as to avoid giving unfair advantage to the answering party.” Jiles
v. Rochester Genesee Reg’l Transp. Auth., 317 F. Supp. 3d 695, 701 (W.D.N.Y. 2018).
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      WHEREFORE, plaintiff’s motion should be denied in its entirety.

Dated: July 12, 2021
       New York, New York
                                                Respectfully submitted,

                                                Mazzola Lindstrom LLP

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